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Attorneys for Marilyn Garner, Chapter 7 Trustee

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
_____________________________________
                                       §
IN RE:                                 §
                                       §
SUPERIOR LUBRICANTS TRANSPORT          §     Case No. 16-42146-rfn-7
INC.,                                  §
a/k/a Superior Transport,              §
                                       §
               DEBTOR.                 §
_____________________________________ §

    MOTION FOR APPROVAL OF COMPROMISE AND SETTLEMENT
    WITH JERRI A. GOODEN, JGOODEN, LLC AND BRYAN AUSTIN
                   PURSUANT TO RULE 9019(a)

NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE IS
FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
ELDON B. MAHON FEDERAL BUILDING, 501 W. TENTH STREET, FORT WORTH,
TX 76102 BEFORE CLOSE OF BUSINESS ON OCTOBER 19, 2017, WHICH IS AT
LEAST TWENTY-FOUR (24) DAYS FROM THE DATE OF SERVICE HEREOF.

ANY RESPONSE MUST BE IN WRITING AND FILED WITH THE CLERK, AND A
COPY MUST BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
THE DATE AND TIME SET FORTH HEREIN. IF A RESPONSE IS FILED, A HEARING
WILL BE HELD WITH NOTICE ONLY TO THE OBJECTING PARTY. IF NO
HEARING ON SUCH NOTICE OR MOTION IS TIMELY REQUESTED, THE RELIEF
REQUESTED SHALL BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY
ENTER AN ORDER GRANTING THE RELIEF SOUGHT OR THE NOTICED ACTION
MAY BE TAKEN.

        COMES NOW, Marilyn Garner, Trustee (the “Trustee”) of the above-captioned Chapter 7

Bankruptcy Estate (the “Estate”), and files this, her Motion for Approval of Compromise and


Motion for Approval of Compromise and Settlement
Pursuant to Rule 9019(a)                                                       Page 1 of 5
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Settlement with Jerri A. Gooden, JGooden, LLC and Bryan Austin pursuant to 9019(a) (the

“Motion”), and in support thereof would show this Court as follows:

                                                I.
                                          JURISDICTION

        1.       This Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. § 1334.

        2.       This Motion involves the settlement and compromise of certain claims, causes of

action, and assets of this Estate and thus is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A),

(E), (F), and (H).

                                         II.
                          INTRODUCTION & UNDERLYING FACTS

        3.       Superior Lubricants Transport, Inc. a/k/a Superior Transport, (the “Debtor”) filed a

petition for relief under Chapter 7 of the United States Bankruptcy Code on June 2, 2016.

        4.       The Trustee brought an adversary proceeding (16-04143) against JGooden, LLC

and Jerri A. Gooden, individually (collectively the “Defendants”) for the avoidance of the Debtor’s

transfer of all of its real estate scheduled with a value of $1,100,000.00. The Trustee’s adversary

seeks to recover the real estate free of any claims of Defendants or, alternatively, value of the real

estate transferred.

        5.       The Defendants also jointly filed Claim No. 12 in these proceedings seeking a claim

in excess of $2 million. The Trustee objected to their claim and that contested matter was joined

into the adversary proceeding.

        6.       Additionally, another principal of the Debtor, Bryan Austin, (“Austin”) was

involved in various transaction of the Debtor and had also filed Claim No.11, which the Trustee

contests as to amount and priority, although a formal objection has not yet been filed.




Motion for Approval of Compromise and Settlement
Pursuant to Rule 9019(a)                                                              Page 2 of 5
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        7.      The parties all believe that it is in the best interest of the Estate for the Trustee to

regain possession of the transferred real estate and to conduct a commercially reasonable sale of

the same, subject to the present commercial lease on the property.

        8.      In light of the uncertainty and costs of trial, the Trustee believes it is in the best

interest of this bankruptcy estate to compromise upon the terms and conditions set forth in that

certain Trustee’s Compromise and Settlement Agreement Pursuant to Rule 9019 with JGooden,

LLC, Jerri A. Gooden and Bryan Austin (a copy of which is attached hereto as Exhibit “A”; the

“Settlement Agreement”). To the extent of any inconsistency between the terms of this Motion

and the Settlement Agreement, the Settlement Agreement shall control.

        9.      The material terms of the Settlement Agreement are that the real estate will be

transferred back to the Debtor, the Trustee will list and sell the property subject to court approval,

and the real estate taxes and uncontested liens will be paid from the proceeds. Jerri A. Gooden and

Bryan Austin shall file all IRS returns for operations before the bankruptcy and pay a portion of

the tax debt directly and shall both be allowed general unsecured claims. Defendants shall also

have a right of first refusal to purchase the real estate on terms that will net the Estate at least as

much as the offer the Trustee seeks to accept.

        10.     Trustee believes this settlement is fair, equitable, and in the best interest of the

Estate based on the risks and expense of litigation. Additionally, the settlement will facilitate

resolution of the additional disputed claim of Austin and permit the Trustee to more quickly get

the real property listed.

        11.     The settlement terms set forth herein are fair and equitable in light of the following

considerations set forth by the United States Supreme Court and the Fifth Circuit:

                a. The probabilities of ultimate success should the claim be litigated;

                b. The complexity, expense, and likely duration of such litigation;


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               c. The need to compare the terms of the compromise with the likely rewards of
                   litigation; and

               d. All other factors relevant to the full and fair assessment of the wisdom of the
                   proposed compromise.

Protective Comm. for Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S.

414, 424-25 (1968); River City v. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th

Cir. 1980).

                                             III.
                                         CONCLUSION

       12.     The Trustee requests that the Court approve the Settlement Agreement under

Federal Rule of Bankruptcy Procedure 9019(a).

       13.     The Trustee requests authority to sign all documents necessary to effectuate the

settlement described herein, including the Settlement Agreement.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully prays for an Order

of this Court granting the Motion and approving the Settlement Agreement, including the authority

to sign all documents necessary to effectuate it, and for such relief, at law or in equity, to which

the Trustee may show herself justly entitled.

Motion submitted by:

  /s/Lyndel Anne Vargas
  Lyndel Anne Vargas
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                                  CERTIFICATE OF SERVICE
        I certify that a true and correct copy of the Trustee’s Motion For Approval Of
Compromise and Settlement Agreement Pursuant to Rule 9019(a) was served this 25th day of
September, 2017 by electronic transmission through the Court’s automated Case Management and
Electronic Docketing System for the U.S. Bankruptcy Court for the Northern District of Texas and
on all parties-in-interest submitting to service of papers in this case by said means and by first class
mail postage prepaid on those persons listed on Exhibit B.


                                               /s/_Lyndel Anne Vargas_______
                                               Lyndel Anne Vargas




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